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                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

Michael Gregg                                  §
      Plaintiff                                §
                                               §       Civil Action: H 4:18-cv-4822
vs.                                            §
                                               §
City of Houston,                               §       Jury Trial Demanded
        Defendant                              §
                                               §

                               Plaintiff’s Original Complaint

       This is a case involving co-worker harassment that frequently occurred in plain view of

supervisory personnel of the City of Houston Police Department (“HPD”) – but the supervisory

personnel failed to perform their legal duties to safeguard employees from sexual harassment.

       The harassment occurred out in the open, in the presence of many co-workers and under

the eyes of various supervisors, including Sgt. Jeanette Perales, who supervised the unit for

which both the plaintiff, Detective Michael Gregg, and the harasser, Officer Michelle

McCormick, worked.

       HPD had actual knowledge of the harassment, and that it was pervasive, and yet failed to

take effective measures to stop what was occurring it and failed to take steps that would have

prevented it from happening again. As a result of this negligence on the part of HPD, Gregg was

subjected to regular, almost daily sexual harassment from August 2014 through September 2016.

And, after Gregg made an official report of the harassment, he was subjected to unlawful

retaliation: he was involuntarily transferred to a less prestigious position, lost the extra pay of

being an investigator, and given less desirable shifts that affected his family life and extra jobs,



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and he was given a false and punitive evaluation that will adversely affect his ability to compete

for jobs and affect his pay should he become an investigator again.

                                              Parties

1.     The plaintiff, Michael Gregg, is an individual who resides in Houston, Harris County,

       Texas.

2.     The defendant City of Houston is a municipality organized under Texas law and is

       located within this judicial district. Defendant is also an employer within the meaning of

       Sections 701(b), (g), and (h) of Title VII, 42 U.S.C. §§ 2000e(b), (g), and (h). The City of

       Houston may be served with process by serving the mayor of Houston, Sylvester Turner,

       at 900 Bagby Street, 2nd Floor, Houston, Harris County, Texas

                                     Jurisdiction and Venue

3.     This case is brought under Title VII of the Civil Rights Act of 1964 and under 42 U.S.C.

       § 1983 to redress the deprivation, under color of statute, ordinance, regulation, custom or

       usage of rights, privileges and immunities secured to the plaintiff under the first and

       fourteen amendments of the United States Constitution.

4.     The Court has jurisdiction of this case under 42 U.S.C. §§ 2000e-5(f), 28 U.S.C. §§ 1331

       and 1343.

5.     The employment practices alleged to be unlawful were committed within the jurisdiction

       of the United States District Court for the Southern District of Texas, Houston Division.

       Therefore, venue is proper in this judicial district under 42 U.S.C. § 2000e-5(f) and 28

       U.S.C. § 1391.




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                              Statement of the Plaintiff’s Case

6.    Michael Gregg is a certified law enforcement officer employed by HPD, for which he has

      worked since 2008. With the exception of the events that led him to file this litigation,

      Gregg has been well-respected by his peers and supervisors throughout his career. He has

      had over 10 years of law enforcement experience.

7.    Near the end of 2012, Gregg was assigned to work as a detective in the Criminal

      Investigation Command, Special Victims Division, Child Sexual Abuse Unit. In August

      of 2014, Officer Michelle McCormick was assigned to the same division. Shortly after

      her arrival, McCormick began making inappropriate and lewd sexual comments and

      innuendos directed towards and/or deliberately in the presence of Gregg, and she did so

      on a regular basis. On one occasion, for example, McCormick stood outside Gregg’s

      cubicle with a popsicle in her mouth, thrusting the popsicle in and out of her mouth in a

      provocative way, simulating fellatio. Gregg simply turned his back to her and continued

      working. McCormick stopped by Gregg’s desk practically every day and made

      inappropriate and unwelcome comments. She would turn almost every innocent remark

      into something involving sexual innuendo. Generally, Gregg tried to ignore her, or walk

      away from it if he could.

8.    This constant objectionable behavior was well-known by Gregg’s co-workers and by his

      immediate supervisor, Sgt. Perales, who was also McCormick’s supervisor. Perales was

      the investigative sergeant over the Child Sexual Abuse Unit. On several occasions when

      McCormick, either alone or with the active participation of Officer Sheila Sanchez,

      engaged in sexually inappropriate conduct in front of Gregg and other detectives. The


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       other detectives, of course, as well as their supervisor, Perales, observed the behavior.

       There were many occasions when, observing sexually explicit behavior by McCormick

       and/or Sanchez in front of Gregg and other Unit members, Perales would merely cover

       her field of vision (holding up papers to the side of her face) and walk swiftly by. She, in

       other words, made it clear to all that she just did not want to see anything that was

       improper.

9.     On one occasion, Perales openly acknowledged to Gregg that she knew about

       McCormick’s misconduct, and asked him about it. In response, Gregg told her what

       McCormick had been and was doing both in front of and outside Perales’ presence. He

       also informed Perales that Officer Sanchez was behaving similarly (although not directing

       so much of her misconduct towards him personally).

10.    After that discussion with Gregg, Perales took a few ineffective steps that, Gregg

       assumes, were her token attempts to stop the harassment. On several occasions, Perales

       addressed all members of the squad together as a unit and verbally repeated something

       that all HPD employees knew to begin with: that sexual harassment, inappropriate

       comments and touching of a sexual nature were inappropriate. In terms of substance,

       Perales’ comments did no more than parrot some of the words found in HPD’s policy

       regarding sexual harassment, a policy with which all employees are expected to be

       familiar. She did not openly acknowledge the then-ongoing sexual harassment in the

       Unit, or try to tie the formal words of the policy to any of the specific acts of improper

       sexual conduct by McCormick that she and the members of the Unit had observed.




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11.    Another ineffective step to deal with the ongoing sexual harassment was on January 27,

       2015, when Perales sent an email to the entire squad with a “reminder” that sexual

       harassment was “inappropriate.” Perales did not openly acknowledge that this

       inappropriate conduct was occurring in her unit. Nor did she command that it stop.

12.    Another indicator of Perales’ knowledge, and ineffective actions, was her decision to add

       a box at the bottom of the performance evaluation forms to the effect that the officer

       understood the HPD sexual harassment policy – and then required that the detectives

       check that box as part of their self-evaluation. But, none of this was effective in stopping

       the sexual harassment that Gregg endured for years.

13.    Perales transferred to another HPD division in September 2015, after which Gregg was

       supervised by Sgt. T. Roberson and Sgt. Shaundra White. Sgt. Roberson was well aware

       of McCormick’s behavior towards Gregg because not longer after Sgt. Perales left, Gregg

       and Officer Randall Kelley openly discussed it with Sgt. Roberson.

14.    Sgt. S. White was well aware of McCormick’s behavior towards Gregg because he told

       her about it before Sgt. Perales even left the division.

                       HPD Knows That Its Supervisors Are Obligated
                        To Prevent, and Halt, Unlawful Harassment

15.    Both the City’s Executive Order and HPD’s Code of Conduct acknowledge an

       employer’s legal duty to effectively stop unlawful sexual harassment and prevent further

       occurrences of such once the misconduct comes to the attention of a supervisor.




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16.    For its part, the City of Houston Executive Order No. 1-50, Section 9, makes it mandatory

       for all supervisors who observe incidents of sexual harassment to (1) take prompt and

       appropriate action that is designed to end the harassment and (2) make a formal report of

       the misconduct as well. This requirement in set forth in no uncertain terms as follows:

              9.2 All supervisors — Any supervisor or manager who receives a
              complaint of workplace or sexual harassment or other prohibited conduct
              or who observes prohibited conduct in his or her department shall take
              prompt and appropriate action reasonably necessary to ensure compliance
              with this policy. At a minimum, the supervisor or manager shall as
              expeditiously as possible make a report to a Designated Department
              Representative assigned to his or her department. ...

17.    Similarly, the Houston Police Department recognizes that its supervisors have a duty to

       act upon and report incidents of sexual harassment, and it brooks no exceptions.

       Supervisors have an affirmative duty to report instances of sexual harassment – even

       when the victims ask for confidentiality, which Gregg certainly never did. HPD’s General

       Order 300-11 is equally explicit:

              Supervisors who witness, are advised of, or otherwise become aware of
              prohibited conduct are required to report the prohibited conduct and
              cannot agree to do otherwise. Once a supervisor is aware of prohibited
              conduct, the supervisor shall do both of the following:

                     a. Take immediate and appropriate action to stop and/or
              prevent further misconduct.

                       b. Promptly report the prohibited conduct to the ERS
              facilitator (no less than 24 hours from discovery of the incident).




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18.    Perales certainly never did what the law and what her own employer required that she do

       – for all those months and months when she had actual knowledge that McCormick, at a

       minimum, was engaged in unlawful sexually harassing behavior towards Gregg. Had

       Perales taken the steps that the law and HPD’s own policies require, there would be no

       doubt but that higher management too would have had actual knowledge that McCormick

       was engaged in unlawful sexual harassment of Gregg. At a minimum, higher management

       should have known of the harassment and should have done something about it long

       before September 2016.

19.    Perales should have reported McCormick’s behavior to her supervisor, then-Lt. Belinda

       Null, Null’s successor, Lt. Sheryl Victorian, or individuals higher up in the chain of

       command, like Captain J. Jones, Captain Evans, or Captain Dana Hitzman.

20.    Sgt. T. Roberson and Sgt. S. White, Perales’ successors, also should have reported

       McCormick’s behavior up the chain of command.

21.    Further, there was widespread knowledge of McCormick’s sexually inappropriate

       misconduct in general and in particular towards Gregg among the members of the Unit,

       who also had a duty to report such acts.

22.    The City of Houston Executive Order 1-39 establishes an Office of Inspector General

       (“OIG”) for Investigation of Employee Misconduct, and applies to a host of forms of

       misconduct, including mismanagement, conflicts of interest, ethics violations,

       discrimination and violations of state or federal law. And, each City employee who

       believes in good faith that employee misconduct has occurred or is occurring “must

       report” to the OIG the facts or circumstances giving rise to the belief. And, HPD General


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       Order 300-11 provides explicitly that all officers within that Unit had a duty to report the

       sexual harassment they observed:

              Employees who witness prohibited conduct ... shall report the conduct
              immediately as described in this section.

       There is little doubt, therefore, but that the City had, at a minimum, constructive

       knowledge of the unlawful harassment long before Gregg filed a formal complaint in

       October 2016.

         HPD Discourages Individual Victims from Reporting Sexual Harassment

23.    HPD has a long history of discouraging its officers who are victims of sexual harassment

       from making formal complaints. This fact is well-documented in HPD’s records, and case

       files, and even court opinions. The phenomena of discouraging officers from making

       complaints about the misconduct in which other officers behave is known as the Code of

       Silence, and its existence in HPD was first noted by the Fifth Circuit in the case of Sharp

       v. City of Houston, 164 F.3d 923, 927 (5th Cir. 1999) (“Sharp was subjected to retaliation

       by fellow officers for breaking t he ‘code of silence,’ a custom within HPD of punishing

       officers who complain of other officers’ misconduct or who truthfully corroborate

       allegations of misconduct.”). The Fifth Circuit again noted the Code of Silence, in which

       officers retaliate against those who complain, speak out against others, or file complaints

       – they are labeled as “snitches” and thereafter ostracized by their peers. Zamora v. City of

       Houston, 798 F.3d 326, 333-34 (5th Cir. 2015).




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24.    Gregg was aware of how officers who complained of others’ misconduct had been

       mistreated and suffered retaliation when they stood up for themselves, or for the rights of

       others, against other officers who were engaged in misconduct. He did not want to suffer

       that retaliation; he did not want to be ostracized by his peers. Besides, his own sergeant

       was not doing anything to stop it, and it occurred in her presence regularly.

       The Final Act of Harassment by McCormick Leading to a Formal Complaint

25.    The event that finally led Gregg to make a formal complaint occurred on September 27,

       2016, when members of the Unit were attending mandatory training. During class,

       someone took a picture with their phone of an officer sitting next to Gregg who had fallen

       asleep in the class, and texted that photo to others in the class. When she received it,

       McCormick held up her own phone and called out to Gregg – showing him that, on her

       screen, she had zoomed in on Gregg’s crotch. As she held her phone screen up for Gregg

       and the others to see, she pointed at his crotch and made “ooh” and “ah” sounds. Several

       officers sitting nearby heard and saw and commented on her behavior.

26.    Later, the Unit’s administrative sergeant, Sgt. Shaundra White, called Gregg into her

       office because, she noted, Gregg had not checked the box on the performance review

       acknowledging the sexual harassment policy. In response to this criticism, Gregg told S.

       White that she should instead be focusing on requiring that McCormick and Sanchez read

       up on that policy. When S. White asked Gregg to explain his comment, Gregg told her

       about McCormick’s behavior at the training session.




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27.    Hearing this, S. White ordered Gregg to make a complaint against McCormick with the

       office of Alternative Dispute Resolution (“ADR”). And, Gregg did as he was ordered to

       do. He went to the ADR office to make a complaint about the sexual harassment. After he

       put the incident in writing, Sgt. Lori White told him that the harassment he described fell

       within the category of a Class I Complaint, and would therefore have to be referred to the

       Internal Affairs Division (“IAD”) for investigation. L. White then issued an order to

       Gregg: that he was to have no contact with McCormick. L. White informed Gregg that

       she had called McCormick on the phone and given her an order to have no contact with

       Gregg. After that, L. White took Gregg’s statement/complaint to IAD. And, after that,

       McCormick was temporarily relieved of duty in the Child Sexual Abuse Unit.

28.    HPD’s assessment of the complaint, even as Gregg first presented it to ADR, as a Class I

       Violation shows that it knew this to be a serious matter. While it later tried to downplay

       the seriousness of his allegations, the contemporaneous documentation reveals how it

       assessed the matter at the time. According to HPD General Order 300-11, a Class I

       Violation involves “more than mere offensive utterances or displays of discriminatory or

       sexually suggestive materials.” If HPD viewed Gregg’s complaint about nothing more

       than “only offensive utterances or displays of discriminatory or sexually provocative

       material,” his complaint would have been categorized as a Class II Violation, and would

       not have been referred to IAD.




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29.    Later, the IAD contacted Gregg and ordered him to give another statement, which he did,

       informing IAD that McCormick “always made inappropriate comments” and her sexually

       inappropriate behavior was “pretty common.” Gregg gave IAD two more statements

       about the harassment. As Gregg later became aware, IAD also took statements from

       several of his co-workers, but he has been denied knowledge of their contents.

30.    HPD claims that the IAD investigation occurred between October and December 2016

       and that, on March 27, 2017, McCormick was issued a seven-day suspension for “her

       violations of Conduct and Behavior as well as Knowledge of and Obedience to Laws and

       Rules.” But, HPD has refused to divulge what that means, or why it took so long to reach

       any conclusion whatsoever. What “Conduct and Behavior” does HPD contend that

       McCormick violated? What is the evidentiary support for that conclusion? What did HPD

       leave out of its investigation? Who did it fail to interview and what questions did it fail to

       ask? On information and belief, McCormick had a troubled history of misconduct with

       HPD. How much attention was paid to any pattern of behavior on her part? What earlier

       notice did HPD have that McCormick had a propensity to engage in misconduct,

       especially misconduct towards a fellow officer, and especially misconduct of a sexual

       nature? What “Laws and Rules” did HPD conclude that McCormick violated, and what

       was the basis for that? What laws and rules did HPD overlook? And why did HPD wait

       until the last minute to issue any adverse finding with regard to McCormick?




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31.    And, while Gregg did his best to follow L. White’s order to have no contact with

       McCormick, that proved impossible on occasion. On a day soon after both he and she

       were issued these no contact orders, McCormick came into the building without anyone

       giving Gregg any forewarning that she would be there. As required by that order, Gregg

       immediately reported that he had seen McCormick. And then he was forced to leave for

       an hour during the duration of her time in the building.

32.    While the investigation was allegedly pending in IAD, the Child Sexual Abuse Unit

       moved into a new building – and, while McCormick was working temporarily in a

       different unit, she was allowed to move into the same building. This has posed a number

       of problems. One is that Gregg have to be extra diligent to avoid all encounters with her –

       not only did he wish to avoid McCormick because of the no contact order but also

       because Gregg feared she would use the occasion of seeing or running into him as an

       excuse to make up some allegation of wrongdoing on Gregg’s part and Gregg would be

       punished on the basis of a trumped-up charge. Gregg was then told to use the back door,

       even though the administration knew that the key system did not work. Gregg was just

       told to knock really loudly so that someone might hear him. When Gregg tried that

       though, no one heard him and he was forced to use the main entrance. The first person

       Gregg saw outside the front door was McCormick. It is almost unheard of that an

       individual who is the subject of a “no contact” order in the HPD is allowed into the same

       building as the person who made the complaint, but HPD does not seem to care about that

       when it comes to a complaint by a man against a woman for sexual harassment.




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33.    An even bigger problem is the retaliation Gregg began experiencing on the Unit. Once his

       complaint made it to IAD and those individuals started investigating, Gregg was

       considered to be a department “snitch” and most officers in the squad no longer wanted to

       work with him. According to Sgt. Roberson, one male officer described Gregg as a

       “bitch,” and said Gregg was “less than a man.” Most of the members of the squad now

       avoid him; he was no longer welcome to join the other members of the Unit when they

       socialized or shared lunch breaks. And, when Gregg was preparing to head out of the

       office to interview an adult suspect, a witness, or a juvenile, he sought another detective

       to accompany him, as was the common practice given the potential for violence. But,

       Gregg’s co-workers inexplicably became unavailable, or were just “too busy,” leaving

       him to conduct several interviews of adult suspects alone. Before, the Unit detectives

       always interviewed adult suspects in pairs – for obvious safety reasons.

34.    Gregg’s ostracization by his peers was also shown when the Unit moved to new quarters.

       Before the Unit was to move, the detectives had bid on their choices of desks. But, after

       Gregg filed this complaint, there were people who no longer wanted to sit by him. One

       officer moved her desk right away saying she did not want to be involved in this “mess.”

       The officers who did take desks near him were hostile to him and tried to avoid all

       interactions with him. At one point, there was a discussion of moving the desks of the

       officers around so that Gregg would not be surrounded by individuals who were hostile to

       him, but Lt. Baltazar said that this was not going to happen.




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35.    Further, there were many occasions after Gregg filed the formal complaint when Lt.

       Colburn made it a point to stand in front of the cubicles next to where Gregg sat at the

       time speaking loudly to the group of people that sat in the nearby cubicles stating that he

       had been told by a superior in the past that, “If an Officer were offended by things

       deemed to be considered Sexual Harassment such as words like vagina, they needed to

       get the fuck out.” Colburn told that “story” several times in front of Gregg and his peers.

       It was common knowledge that Captain Angelo, Lt. Colburn, and Sgt. Alvarez and other

       officers in the Unit were not happy with Gregg because of their earlier personal

       friendships with McCormick, and they were ready for this snitch to leave the unit.

36.    Lt. Baltazar also came up with a bizarre reason to criticize Gregg’s work. One day, when

       he was on call, Gregg was called to the scene where there was a juvenile victim of sexual

       abuse. Afterwards, as is standard protocol, Gregg prepared his report of the incident,

       which is called a “Supplemental Report.” At HPD, it is typically the first officer on the

       scene, usually a patrol officer, who prepares the “Original Report” of the incident, thus

       leading to the designation of “Supplemental” for reports filed by other officers, like the

       detectives from special units. But, out of nowhere, Lt. Baltazar criticized Gregg for not

       preparing the Original Report and Sgt. Stewart then ordered him to do so. Gregg assured

       Stewart that, since this was an order, he would comply, but he also explained that this

       was not HPD’s standard procedure, and why, but she did not seem to be satisfied with

       Gregg’s explanation. Ultimately, Gregg did not have to prepare the Original Report;

       someone else was ordered to do it and that person was someone who was not even at the




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       scene. Gregg do not know why the officer who first responded to the scene did not

       prepare it.

               The First Official Act of Retaliation – An Involuntary Transfer

37.    On September 8, 2017, while working an overnight shift at the George R. Brown

       Convention Center for efforts related to Hurricane Harvey, Gregg was pulled aside by

       HPD’s Captain Angelo. Angelo then informed Gregg that he was being transferred to the

       Juvenile Division effective the next day. Angelo and Lt. Colburn, who was also present,

       ordered Gregg to sign the involuntary transfer paperwork. The transfer document did not

       say who Gregg was to report to. It did have Gregg’s schedule listed as 7am- 3pm. When

       Gregg inquired about his hours, Colburn and Angelo told him that it would be sorted out

       in Gregg’s new division. Gregg was instructed to report to the Juvenile Division on

       Monday, September 11, 2017.

38.    HPD has taken the position that this was a transfer that Gregg requested. That is not an

       accurate depiction of the facts. Because of the retaliation and ostracization he was

       experiencing from his peers in the Child Sexual Abuse Unit, Gregg, though counsel, had

       advised HPD that he would be willing to accept a transfer to Juvenile Investigations to

       get away from the retaliation in Gregg’s unit – but only on a trial basis and with an

       opportunity to transfer back to his Unit of origin. Gregg, after all, loved the work he had

       been doing in that unit for years, and was only reluctantly even considering leaving it for

       reasons of his own mental health.




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39.    Gregg soon learned that this involuntary transfer was not to Juvenile Investigations.

       When he reported to Juvenile Investigations as ordered on the morning of September 11,

       2017, he was met by Sgt. Teel, who said that Gregg was not assigned to Juvenile

       Investigations, but instead to Juvenile Intake. Gregg then reported to Juvenile Intake and,

       after a while, met with Sgt. Rojas. Rojas was surprised, and remarked that he had no

       knowledge of Gregg being assigned to Juvenile Intake and was unsure as to where Gregg

       was supposed to report. Rojas then spoke to his superiors and told me that Gregg would

       indeed be assigned to Intake.

40.    Gregg stayed in Juvenile Intake until around close of the day shift, but then received an

       email to come back to the Child Sexual Abuse Unit to close out cases he had been

       working on at the time he was given this involuntary transfer order. If Gregg had been

       given advance notice of a transfer, he of course would have had time to better organize

       his files, complete some tasks, and then hand the files off to someone else. HPD General

       Order 300-02, in fact, provides that he should have been given at least ten calendar days’

       notice before then transfer would become effective. But, Gregg was not provided that

       courtesy. Still, as ordered, Gregg returned to his unit of origin and worked three days

       trying to close out cases. After a week off, he was again ordered to return to his unit of

       origin, and was told that he had one final day to try to close out his previous cases. Gregg

       did as he was told, closed out as much as he could, and left notes on items remaining to

       be done. On September 27, 2017, Gregg reported back to intake and was told he would be

       working the 3p-11p evening shift with Tuesdays/Wednesdays off.




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41.    Juvenile Intake is a step down from investigations in many ways. First, it’s not as

       challenging, not as desirable, not as prestigious a position – it’s not even an investigator’s

       position. Intake has traditionally been a place where officers were sent when they were in

       trouble or ranked low in their academy’s classes and are involuntarily transferred there to

       fill positions. It has been a place where few want to work and that remains to be the case.

42.    This involuntary transfer meant not only a loss in status, but also a loss in income. First,

       Gregg lost the additional pay he had been receiving as an investigator for years; members

       of the Juvenile Intake Unit are not considered as, and not paid as, investigators.

       Additionally, since August 2012, Gregg had sufficient seniority as an investigator in the

       Child Sexual Abuse Unit that he was assigned to a day shift position with weekends off.

       In the Juvenile Intake Unit, Gregg no longer had those benefits – he lost the day shift and

       weekends off, which has adversely impacted Gregg’s family life and his availability to

       work extra jobs, and thus bring in additional income for his family.

                        The Second Formal Act of Retaliation by HPD

43.    On October 20, 2017, Gregg’s current lieutenant called him into his office and handed

       him a document he said he had found on a sergeant’s desk, which is a “Report of

       Employee Efficiency Rating,” Gregg’s six-month review. It had already been signed by

       Gregg’s former sergeant, Sgt. Jessica Alvarez in the Child Sexual Abuse Unit, and was

       dated October 12, 2017. Gregg does not recognize the second signature on the document.




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44.    This Efficiency Rating is supposed to cover the six-month period ended August 31, 2017.

       It contains false assertions of fact and is the lowest Gregg had received in 8 years. First, it

       falsely stated that Gregg was one of the lowest producers in the Unit. That was not true.

       Gregg had about 28-30 cases when the Summer of 2017, which was not much different

       than the work load of most detectives in the Unit. But, because of the psychological

       impact of the retaliation that he began suffering after making a formal complaint against a

       fellow officer, Gregg began seeing a psychologist employed by HPD. The psychologist

       recommended that, to give Gregg time to deal with the impact of the retaliation, he be

       given “light duty” for 45 days. HPD took that term and unilaterally interpreted it to mean

       that Gregg’s case load should be cut in half, which it proceeded to do. And so, in June

       2017, Gregg was suddenly ordered to hand over about half of his open, active case files,

       some of which were almost completed. As those files closed, other detectives got the

       credit for it – even though Gregg may have done the vast majority of the work. Further, it

       was HPD’s decision, not that of Gregg, that, when Gregg thereafter closed any files, he

       was not assigned any new ones. Nor were his case assignments increased after the

       passage of the recommended 45 days of “light duty.” Again, that was a decision made by

       HPD, not by Gregg.

45.    The report falsely states that Gregg had only two cases assigned to him. The

       contemporaneous emails Alvarez sent to Gregg after his involuntary transfer proves that

       this number is false. And Gregg was also still checking on cases that had been

       inactivated. The report is also false in reporting that Gregg had only one arrest and one

       charge in the entire six months. Again, Alvarez’s own emails show that what she wrote in


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       this efficiency report is false. She herself identifies three specific cases in which charges

       were authorized in mid August alone, showing the work was done.

46.    While this report also criticizes Gregg’s timing on filing warrants, neither his timing nor

       his practice was atypical of the detectives in the Unit. In fact, after Gregg was transferred,

       the lieutenant over the squad admonished the remaining members to start filing their

       warrants more quickly than they had been doing – and not “wait weeks” to file them, as

       they had previously been doing.

47.    The report also wrongly accuses Gregg of mishandling witness statements. That is

       absolutely untrue, as HPD knows. When Gregg was involuntarily transferred, Alvarez

       went to Gregg’s desk and gathered up all his files: the active ones, some technically

       inactive files on which Gregg was still checking, and some awaiting transfer to storage.

       All that was done without Gregg’s knowledge, consent, or participation. After doing that,

       Alvarez accused Gregg of not having copies of the witness interviews in some of the case

       files, which Gregg knew was wrong. Gregg had, pursuant to normal procedures, made

       copies of recorded witness interviews and transferred them to disks to put in the case

       files. What happened to those copies when Alvarez took everything off Gregg’s desk,

       Gregg doesn’t know. But, as Gregg told Alvarez, the originals of those recorded

       statements were on Gregg’s voice recorder, which Gregg had been required to surrender

       when he was transferred. Fortunately, the administration retrieved that voice recorder,

       gave it to Gregg, and he found, to his great relief, that no one had erased the contents of

       the voice recorder yet. The originals of the witness statements were still on the recorder

       and so he once more copied them, and gave this set of copies to Alvarez.


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48.    As a result of this wrongfully lowered efficiency rating, Gregg’s ability to be competitive

       in applying for transfers to a more desirable position will be harmed. And, even assuming

       Gregg is allowed to once again be an investigator, this rating will lower the amount of

       additional pay Gregg will receive for that assignment.

                           Exhaustion of Administrative Remedies

49.    Gregg timely filed a charge of discrimination with the Equal Employment Opportunity

       Commission regarding the sexual harassment he endured. The harassment, as he

       explained in his Charge, occurred over a period of slightly over two years, with the last

       incident being in September 2016. He filed his Charge complaining of that harassment on

       or about March 31, 2017, which is well within 300 days of the last component act that

       constitutes the unlawful harassment. Gregg also timely filed two supplemental charges of

       discrimination – one on or about November 14, 2017, complaining of the involuntary

       transfer that took effect two months earlier, and the second on December 5, 2017, after

       receipt of the false and derogatory performance evaluation in October. After over 180

       days passed, Gregg requested a right-to-sue letter. Gregg received a right-to-sue letter,

       and timely files this complaint.




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                                        CAUSES OF ACTION

                    Statutory Violations: Sexual Harassment and Retaliation

50.    The City is liable for the sexual harassment Gregg endured from his co-worker because,

       despite the fact that supervisory-level personnel knew of the harassment, they failed to

       stop it. It is also liable for the acts of retaliation that were taken against him because he

       filed a formal complaint.

51.    The City’s conduct violates Title VII of the Civil Rights Act of 1964, which prohibits

       discrimination in employment on the basis of gender, and retaliation against an individual

       for reporting and objecting to such discrimination.

                                     Constitutional Violations

52.    The City's conduct also violates 42 U.S.C. §1983, which prohibits deprivation, under

       color of statute, ordinance, regulation, custom or usage of rights, privileges, or

       immunities secured by the constitution and law.

53.    The City’s conduct violates the first amendment of the United States Constitution, which

       prohibits retaliation against an individual for engaging in protected speech, and the

       fourteen amendment, which guarantees equal protection of the law. A complaint of sexual

       harassment is protected speech.




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                                             DAMAGES

54.    The City’s actions caused economic damages to Gregg in the form of lost wages and

       benefits income, past and future.

55.    The City’s actions also caused Gregg compensatory damages; he has experienced the type

       of mental anguish, embarrassment, anger, frustration, disappointment, regret, despair, and

       disruption of his peace of mind as a result of Defendant's unlawful conduct which any

       reasonable person would have suffered under like circumstances. He has also suffered

       compensable out-of-pocket expenses as a direct result of having been unlawfully

       retaliated against by the City with regard to his transfer.

                                       RELIEF REQUESTED

       The plaintiff asks this court to enter a judgment:

       a.     Declaring that the acts and practices complained of in this Complaint are in

              violation of the law;

       b.     Enjoining and permanently restraining these violations of the law;

       c.     Declaring that the acts and practices complained of in this Complaint are in

              violation of the United States Constitution;

       d.     Enjoining and permanently restraining these Constitutional violations;

       e.     Directing the defendant to pay plaintiff actual and compensatory damages that he

              suffered, past and future;

       f.     Awarding plaintiff pre-judgment interest on the amounts owed at the maximum

              rate allowed by law;




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 g.    Awarding plaintiff the costs of this action, together with reasonable attorneys' fees

       and expert witness fees;

 h.    Awarding plaintiff post-judgment interest on the amount of judgment until paid at

       the maximum rate allowed by law; and

 i.    Awarding plaintiff such other relief, legal or equitable, as may be warranted.




                                             Respectfully submitted,


                                               /s/ Margaret A. Harris
                                             Margaret A. Harris*
                                             Southern Dist. ID 87
                                             State Bar No. 09081400
                                             Paul R. Harris
                                             State Bar No. 24059905
                                             S.D. Tx. No. 897365
                                             Butler & Harris
                                             1007 Heights Boulevard
                                             Houston, Texas 77008
                                             (713) 526-5677
                                             (888) 370-5038 (fax)
                                             margie@butlerharris.com
                                             paul@butlerharris.com

                                             * Attorney in charge for the Plaintiff
                                             Michael Gregg




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